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     JOSEPH NOLAN
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 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                  EASTERN DISTRICT OF CALIFORNIA, FRESNO
10

11   UNITED STATES OF AMERICA,          ) Case No.: 1:10-CR-00131 AWI
                                        )
12             Plaintiff,               )
                                        )
13       vs.                            ) STIPULATION AND ORDER TO
                                        ) CONTINUE SENTENCING
14                                      )
                                        )
15                                      )
     JOSEPH NOLAN,                      ) Date: October 21, 2013
16                                      )
                                        ) Time: 10:00 a.m.
17             Defendant.               ) Hon. Anthony W. Ishii
                                        )
18

19       Defendant, JOSEPH NOLAN, by and through his attorney of
20   record, Anthony P. Capozzi and the United States Attorney by
21   and through Karen A. Escobar, hereby stipulate as follows:
22       1. By previous order, this matter was set for sentencing
23   on October 21, 2013, at 10:00 a.m.
24       2. The parties agree and stipulate that Defendant requests
25   this court to continue the sentencing until February 3, 2014,
26   at 10:00 a.m.
27       3. Additionally, the parties agree and stipulate, and
28   request that the Court find the following:
                                         - 1 -
                Stipulation and [Proposed] Order to Continue Sentencing
                              CASE NO.: 1:10-CR-00131 AWI
        Case 1:10-cr-00131-LJO Document 223 Filed 09/20/13 Page 2 of 3


 1            a. The Defendant pled guilty on April 29, 2013.

 2       Ongoing negotiations have been taking place between the

 3       Government and the Defendant. The parties anticipate that

 4       by February 3, 2014, the required investigations and

 5       discovery will be completed.

 6            b. The parties request that Informal Objections be

 7       filed on January 6, 2014, and Formal Objections be filed

 8       on January 21, 2014.

 9            c. The Government does not object to the continuances

10       requested herein.

11

12                                          Respectfully submitted,

13   DATED: September 19, 2013              /s/Karen A. Escobar
                                            KAREN A. ESCOBAR
14                                          Attorney for United States
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17   DATED: September 19, 2013              /s/Anthony P. Capozzi
18                                          ANTHONY P. CAPOZZI
                                            Attorney for Defendant
19                                          JOSEPH NOLAN
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                Stipulation and [Proposed] Order to Continue Sentencing
                              CASE NO.: 1:10-CR-00131 AWI
                           Case 1:10-cr-00131-LJO Document 223 Filed 09/20/13 Page 3 of 3


 1                                                         ORDER

 2                         For reasons set forth above, the continuance requested by

 3   the parties is granted for good cause.

 4                         IT IS ORDERED that the sentencing currently scheduled for

 5   October 21, 2013, at 10:00 a.m. is continued to February 3,

 6   2014, at 10:00 a.m. and the Informal Objections are due on

 7   January 6, 2014, and the Formal Objections are due on January

 8   21, 2014.

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     IT IS SO ORDERED.
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     Dated: September 19, 2013
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     DEAC_Signature-END:
                                                        SENIOR DISTRICT JUDGE
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     0m8i788
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                                                            - 3 -
                                   Stipulation and [Proposed] Order to Continue Sentencing
                                                 CASE NO.: 1:10-CR-00131 AWI
